        Case 1:21-cr-00541-PLF Document 67 Filed 09/16/24 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                     )
                                              )
                          Plaintiff;          )
                                              )
                   v.                         ) Case No. 21-CR-541 (PLF)
                                              )
FI DUONG,                                     )
                          Defendant.          )

        PARTIALLY-OPPOSED MOTION TO CONTINUE SENTENCING

      I write to seek a one week continuance of the October 16, sentencing date and

a concomitant extension of time by which the defendant’s sentencing memorandum

would be due. To that end, I ask the Court allow me to submit Mr. Duong’s

sentencing submission by September 23, 2024. The government consents to this

request that the defense sentencing submission be filed by September 23, 2024. I

also request that sentencing take place during the week of October 21, 2024. The

government opposes this request that the sentencing hearing be continued. The

delay is largely due to my trial schedule and due to a personal/medical issue.

      Mr. Duong is on bail and compliant with all the imposed conditions of release.

I thank the Court for its time and consideration of these matters.

                                 Respectfully submitted,

                                 Sabrina Shroff
                                 80 Broad Street, 19th Floor
                                 New York, New York 10004

                                 /s/Office of the Federal Public Defender
                                 625 Indiana Ave., N.W., Suite 550
                                 Washington, D.C. 20004
Dated: September 16, 2024
